EXHIBIT 12
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7                TRANSCRIPT OF VIDEO-RECORDED
8                         DOCUMENTARY
9
10   "TMZ Presents The Downfall of Diddy Inside the Freak-
11                           Offs"
12
13   https://tubitv.com/movies/100029722/tmz-presents-the-
14          downfall-of-diddy-inside-the-freak-offs
15
                       April 28, 2024
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20   Job No.: 564922
21   Pages: 1 - 54
22   Transcribed by: Christian Naaden
           Transcript of TMZ Presents: The Downfall of Diddy Inside the Freak-Offs
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1    typical practice is to send a demand to lay out. Here's
2    what we believe the situation was.
3                  Here's how we think you were involved and try
4    to start a dialogue. Failing that, we just filed a
5    lawsuit.
6                  HARVEY LEVIN:          Safe to say you've sent some
7    demand letters already.
8                  TONY BUZBEE:         That's true.
9                  HARVEY LEVIN:          Beyond Diddy.
10                 TONY BUZBEE:         True.
11                 FOOTAGE:       Look good, bro. You look fresh. You
12   look fresh, bro.
13                 HARVEY LEVIN:          I'm curious what you think
14   about that criticism that, you know, you put enough
15   embarrassing things in a complaint or say you're going
16   to.
17                 And it forces a settlement and it becomes
18   almost. That's the game. What do you say about that?
19   That's that's a criticism I hear on the other side.
20                 TONY BUZBEE:         No, it's -- it's a fair. It's a
21   fair point. I mean, you know, the system is the system.
22   It's a gulag, if you will. It's a -- you know, it's a


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1    tough, tough process.
2               And we always attempt make an attempt to
3    resolve these cases without the filing of a lawsuit.
4    That's just what we try to do. And if that if we fail
5    in that, we're going to file the case and we're going
6    to pursue it with with aggression.
7               Many of you came here thinking or hoping or
8    perhaps believing that I may start naming names. Well,
9    that day will come, but it won't be today. But the
10   names that we're going to name are names that will
11   shock you.
12              Let's make sure that we capture everybody that
13   was involved in this, not only the people that were
14   actively engaged in this egregious conduct, the people
15   that were We're facilitating this conduct.
16              The people that were there and turned a blind
17   eye to this conduct, the people that benefited from
18   this conduct, the people that profited from this
19   conduct. Let's make sure that we find all of those and
20   make sure that that justice is served.
21              MUSIC:      With the vibe.
22              HARVEY LEVIN:          Your knowledge, did Dawn see


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3    under penalty of perjury that to the best of my ability
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5    and that I am neither counsel for, related to, nor
6    employed by any of the parties to this case and have no
7    interest, financial or otherwise, in its outcome, the
8    above 53 pages contain a full, true and correct
9    transcription of the tape-recording that I received
10   regarding the event listed on the caption on page 1.
11
12              I further declare that I have no interest in
13   the event of the action.
14
15
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17              December 11, 2024
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